        Case 1:23-cv-00182-GSK Document 26               Filed 10/04/23    Page 1 of 2




                UNITED STATES COURT OF INTERNATIONAL TRADE


 NINESTAR CORPORATION, ZHUHAI
 NINESTAR INFORMATION
 TECHNOLOGY CO., LTD., ZHUHAI
 PANTUM ELECTRONICS CO., LTD.,
 ZHUHAI APEX MICROELECTRONICS
 CO., LTD., GEEHY SEMICONDUCTOR
 CO., LTD., ZHUHAI G&G DIGITAL
 TECHNOLOGY CO., LTD., ZHUHAI
 SEINE PRINTING TECHNOLOGY CO.,
 LTD., and ZHUHAI NINESTAR
 MANAGEMENT CO., LTD.,

                Plaintiffs,

        v.
                                                   Before: Gary S. Katzmann, Judge
 UNITED STATES OF AMERICA;
                                                   Court No. 23-00182
 DEPARTMENT OF HOMELAND
 SECURITY; UNITED STATES CUSTOMS
 AND BORDER PROTECTION; FORCED
 LABOR ENFORCEMENT TASK FORCE;
 ALEJANDRO MAYORKAS, in his official
 capacity as the Secretary of the Department
 of Homeland Security; TROY A. MILLER,
 in his official capacity as the Senior Official
 Performing the Duties of the Commissioner
 for U.S. Customs and Border Protection; and
 ROBERT SILVERS, in his official capacity
 as Under Secretary for Office of Strategy,
 Policy, and Plans and Chair of the Forced
 Labor Enforcement Task Force,

                Defendants.


                                             ORDER

       The court having received both Plaintiffs’ Motion for Preliminary Injunction, Aug. 22,

2023, ECF No. 9, and Defendants’ Motion to Dismiss and Opposition to Plaintiffs’ Motion for a

Preliminary Injunction (“Motion to Dismiss”), Oct. 3, 2023, ECF No. 24, it is hereby:
         Case 1:23-cv-00182-GSK Document 26               Filed 10/04/23     Page 2 of 2

Court No. 23-00182                                                                         Page 2


       ORDERED that, unless further modified by court order on motion of a party, Plaintiffs’

response to the Motion to Dismiss must be filed by November 7, 2023, and Defendants’ reply must

be filed within twenty-one days after service of the response, see USCIT R. 7(d); and it is further

       ORDERED that Plaintiffs’ response to the Motion to Dismiss may include a reply

regarding the Motion for Preliminary Injunction; and it is further

       ORDERED that a hearing to consider both the Motion for Preliminary Injunction and the

Motion to Dismiss will be scheduled for a date that is after the filing of the reply brief for the

Motion to Dismiss.

                                                                     /s/   Gary S. Katzmann
                                                                            Judge

Dated: October 4, 2023
       New York, New York
